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                 Exhibit 1
                                                    RETRIEVAL-MASTERS
                       Case 5:17-cv-00426-PGB-PRL Document                 CREDITORS
                                                           13-1 Filed 11/14/17 Page 2 ofBUREAU,   INC.
                                                                                         3 PageID 51
                                     4 Westchester Plaza, Suite 110
                   COLLECTION AGENCY Elmsford, NY 10523




                                                                                                                                                                                   IMPORTANT NOTICE
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;BRl<2tplnq>oV
aa!!a!!aaa!a!!a!


                                                                                                       01 DS1 SC1 200 98384692884A
                           June 7, 2017                                                                Pin Number:                      7721
                                                                                                       (855) 980-7622

                                                                                   38

                   Cheryl Rafferty
                   17300 Ne
                   Silver   Springs, FL 34488-4811
                   




                                                                                                                                                                                   IMPORTANT NOTICE
Dear Cheryl Rafferty:

We have been authorized to contact you regarding your past due account with our client,
Swiss Colony, in the amount of $440.90.

Your account has been outstanding for some time and our client has informed us that this has been reported to a credit
bureau. Now is the time for you to address this seriously past due account. Your payment in full in the amount of
$440.90 is necessary. Please send your check or money order to us in the enclosed envelope made payable to
Retrieval Masters Creditors Bureau.

SEE THE REVERSE SIDE OF THIS LETTER FOR IMPORTANT INFORMATION ABOUT YOUR RIGHTS. If you do




                                                                                                                                                                                   IMPORTANT NOTICE
not respond, you will be subject to additional collection efforts.




                                                                                                                                              DS1-T - RMCB.WFD - 778378 - 653414F
                                                                                                                                                                          00012513 (PC2)
                                                                                                                                                                                   - 1 of 1
         SEE REVERSE SIDE FOR IMPORTANT INFORMATION.                                    Detach and return this portion with payment using enclosed envelope.

                                                                                                To pay online: pay.retrievalmasters.com
                   Amount Due:                                             $440.90                   qVISA                  qMASTERCARD                          qDISCOVER
                                                                                                Card #:
                                                                                                Exp. Date:                                             Amount:
 You Owe:                                 Swiss Colony                                          Signature:
                                                                                                Client Code: SC1                     Account: 9               884A
 Charge Date                              December 3, 2015                                      Pin Number:              7721
                                                                                                01 DS1 SC1 200
 Account Number                                          884A
                                                                                                   
 Pin Number:                                           7721
 Name:                                    Cheryl Rafferty                                          RMCB
 Street Address:                          17300 Ne                                                 PO BOX 1235
 City,State Zip:                          Silver Springs, FL 34488-4811                            ELMSFORD, NY 10523-0935




                                                                                        884A+++0
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The disclosures below are required by state or federal law. This is not intended to be a complete statement of all rights
consumers may have under state and federal law.

"This is an attempt to collect a debt. Any information obtained will be used for that purpose." This communication is from
a debt collector.

Unless you notify this office within 30 days after receiving this notice that you dispute the validity of this debt or any
portion thereof, this office will assume this debt is valid. If you notify this office in writing within 30 days after receiving this
notice, that the debt or any portion thereof is disputed, this office will: obtain verification of the debt or obtain a copy of a
judgment and mail you a copy of such judgment or verification. If you request this office in writing within 30 days after
receiving this notice, this office will provide you with the name and address of the original creditor, if different from the
current creditor.




                                               Ù Detach along this edge. Ù
                      Return the Bottom portion with your check, credit card information or money order.
                          Include your account number, name and address on all correspondence.

                                            Thank you for your attention to this matter.




                                                                                                                     778378 - 00012513 - 1 of 1
